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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      Case No. 21-cr-609 (APM)
       v.                                      :
                                               :
JEREMY BROWN,                                  :
                                               :
                Defendant                      :

                 GOVERNMENT’S BENCH BRIEF RE: EXCEPTIONS TO
                         THE EXCLUSIONARY RULE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this bench brief regarding the admissibility of

evidence - currently subject to a motion to suppress appeal before the 11th Circuit Court of Appeals

- during rebuttal. In an effort to proceed to trial timely, the government in this matter, has decided

not to use the evidence (at subject in Defendant Brown’s motion to suppress) in its case in-chief.

ECF 66. The government maintains the evidence seized during the search of Defendant Brown’s

home was obtained legally and there is no reason to believe the evidence should or will be

suppressed. However, in the event suppression were to happen, case law is clear that using

suppressed or challenged evidence is admissible in certain circumstances. Therefore, the

government’s decisions to forego further suppression litigation before this Court and not use the

search warrant evidence in its case-in-chief does not preclude the government from using such

evidence in rebuttal or as impeachment.

       Since Walder v. United States, 347 U.S. 62 (1954), courts have long recognized an

“impeachment exception” to the exclusionary rule. The Walder court held “[i]t is one thing to say

that the Government cannot make an affirmative use of evidence unlawfully obtained. It is quite

another to say that the defendant can turn the illegal method by which evidence in the
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Government's possession was obtained to his own advantage, and provide himself with a shield

against contradiction of his untruths.” Id. at 65. In other words, a defendant, or defense witness,

cannot take the stand, perjure themselves, and continue to receive the benefit of the evidence’s

suppression. Since the Walder decision, courts have continuously reiterated the need for the

factfinder to have all the appropriate evidence to ensure its truth-seeking function. Kinard v. United

States, 635 A.2d 1297, 1306 (D.C. 1993) (“Thus, the exception to the rule allows the government

to expose any perjury by using the otherwise inadmissible evidence for impeachment purposes.”).

       Naturally, there are limitations, “[g]enerally speaking, the ‘introduction of otherwise

inadmissible evidence under shield of this doctrine is permitted only to the extent necessary to

remove any unfair prejudice which might otherwise have ensued from the original evidence.’”

Romero v. United States, 266 A.3d 217, 225 (D.C. 2022)

       Therefore, if the appropriate occasion arises and, after a sufficient argument is made that it

is in the interest of justice to permit the government to impeach Defendant Brown (or rebut his

testimony) with the evidence seized from his home, such evidence is admissible as

impeachment/rebuttal evidence.

                                       Respectfully submitted,

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